 Case 4:24-cr-00041-RCC-JR           Document 26      Filed 12/05/24        Page 1 of 10



                                                                 -   ~     FILED        _ _ LODGED
 1   GARYM. RESTAINO                                             ---;:::~RE~C~El~VE:.:'.
                                                                                     D_____:====~COPY
     United States Attorney
 2   District of Arizona
     KEVIN D. SCHIFF                                                         DEC - 5 2024
 3   Assistant U.S. Attorney
     United States Courthouse
                                                                         CL ERK U S DISTRICT CO UR T
 4   405 W. Congress Street, Suite 4800                                      DISTRIC T OF ARI ZON A
                                                                                                    DEPUTY
     Tucson, Arizona 85701
 5   Telephone: 520-620-7300
     Email: Kevin.Schiff@usdoj.gov
 6   Attorneys for Plaintiff
 7                         IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9
     United States America,
10
                              Plaintiff,
11
               vs.                                              PLEA AGREEMENT
12
13   Manuel David Mora Garcia,
14                           Defendant.
15
16            The United States of America and the defendant agree to the following disposition
17   of this matter:
18                                              PLEA
19            The defendant agrees to plead guilty to Count 3 of the Indictment, charging the
20   defendant with a violation of 18 U.S.C . §§ 922(g)(5)(B) and 924(a)(2), Receipt of Firearm
21   by an Alien, a felony. Any remaining counts will be dismissed at the time of sentencing.
22                   ELEMENTS OF THE OFFENSE AND SENTENCING FACTOR
23            1. The defendant knowingly received firearm(s);
24            2. That firearm had been shipped or transported in interstate commerce;
25            3. The defendant knew at the time he received the firearm he a was a non-immigrant
26   alien.
27                                         Maximum Penalties
28            A violation of 18 U.S.C. §§ 922(g)(5)(B) and 924(a)(2), is punishable by a
     Case 4:24-cr-00041-RCC-JR         Document 26         Filed 12/05/24    Page 2 of 10




 1      maximum fine of $250,000, or a maximum term of imprisonment of ten (10) years, or both,
 2      plus a term of supervised release of three years and a special assessment of$100; the special
 3      assessment is due and payable at the time the defendant enters the plea of guilty, and must
 4      be paid by the time of sentencing unless the defendant is indigent. If the defendant is
 5      indigent, the special assessment will be collected according to Title 18, United States Code,
 6      Chapters 227 and 229.
 7             The defendant will pay upon conviction an additional $5,000 special assessment
 8      pursuant to 18 U.S.C. § 3014(a), unless the Court determines that the defendant is indigent.
 9             The Court is required to consider the Sentencing Guidelines in determining the
10      defendant's sentence. However, the Sentencing Guidelines are advisory, and the Court is
11      free to exercise its discretion to impose any reasonable sentence up to the maximum set by
12      statute for the crime(s) of conviction, unless there are stipulations to the contrary that the
13      Court accepts.
14                                      Immigration Consequences
15             The defendant recognizes that pleading guilty may have consequences with respect
16      to the defendant's immigration status if the defendant is a recently naturalized United States
17      citizen or is not a citizen of the United States. Under federal law, a broad range of crimes
18      are removable offenses, including the offense(s) to which the defendant is pleading guilty.
19      Although there may be exceptions, the defendant understands that the defendant's guilty
20      plea and conviction for this offense make it practically inevitable and a virtual certainty
21      that the defendant will be removed or deported from the United States. The defendant
22      agrees that the defendant has discussed this eventuality with their attorney. The defendant
23      nevertheless affirms that the defendant wants to plead guilty regardless of any immigration
24      consequences that this plea entails, even if the consequence is the defendant's automatic
25      removal from the United States.
26                                AGREEMENTS REGARDING SENTENCE
27             1.      Stipulations regarding sentencing. Pursuant to Fed. R. Crim. P. 1 l(c)(l)(C),
28      the parties agree that:


                                                     -2-
     Case 4:24-cr-00041-RCC-JR        Document 26        Filed 12/05/24     Page 3 of 10




 1                    a.     Any prison sentence shall not exceed the low-end of the final advisory
 2             Sentencing Guidelines Range;
 3                    b.     The parties agree that the defendant shall receive a two level variance,
 4             reducing the total offense level, pursuant to 18 U.S.C § 3553(a);
 5                    c.     The parties agree that the defendant was an average participant in the
 6             offense for the purpose of role analysis under U.S.S.G. §§ 3B 1.1, 3B 1.2;
 7                    d.     The parties agree that any specific offense characteristic pursuant to
 8            U.S.S.G. § 2Kl.1 that are not explicitly stipulated to as part of the elements of the
 9             offense, in the factual basis, nor elsewhere in this plea, may be contested by either
10            party at sentencing;
11                    e.     The defendant agrees not to seek any other adjustments in Chapters
12             Two, Three or Four of the Sentencing Guidelines or any "departures" from the
13             Sentencing Guidelines. The defendant acknowledges that if the defendant seeks any
14             such adjustment or departure, the government may withdraw from the plea;
15                    f.     Nothing in this agreement precludes the defendant from asking for a
16             variance from the final advisory Sentencing Guidelines Range.
17             2.    Recommendation: Acceptance of Responsibility. Pursuant to Fed. R. Crim.
18      P. l l(c)(l)(B), if the defendant makes full and complete disclosure to the U.S. Probation
19      Office of the circumstances surrounding the defendant' s commission of the offense, and if
20      the defendant demonstrates an acceptance of responsibility for this offense up to and
21      including the time of sentencing, the United States will recommend a two-level reduction
22      in the applicable Guidelines sentencing offense level pursuant to U.S.S.G.§ 3El.l(a). If
23      the defendant has an offense level of 16 or more, the United States will move for an
24      additional one-level reduction in the applicable Sentencing Guidelines offense level
25      pursuant to U.S.S.G. § 3El.l(b).
26            3.     Non-Binding      Recommendations.       The    defendant      understands   that
27      recommendations under Fed. R. Crim. P. 1 l(c)(l)(B) are not binding on the Court. The
28      defendant further understands that the defendant will not be permitted to withdraw the


                                                   -3-
 Case 4:24-cr-00041-RCC-JR           Document 26         Filed 12/05/24     Page 4 of 10




 1   guilty plea if the Court does not follow a recommendation.
 2          4.      Assets and Financial Responsibility.        The defendant shall make a full
 3   accounting of all assets in which the defendant has any legal or equitable interest. The
 4   defendant shall not (and shall not aid or abet any other party to) sell, hide, waste, spend, or
 5   transfer any such assets or property before sentencing, without the prior approval of the
 6   United States (provided, however, that no prior approval will be required for routine, day-
 7   to-day expenditures). The defendant also expressly authorizes the United States Attorney' s
 8   Office to immediately obtain a credit report as to the defendant in order to evaluate the
 9   defendant's ability to satisfy any financial obligation imposed by the Court. The defendant
10   also shall make full disclosure of all current and projected assets to the U.S. Probation
11   Office immediately and prior to the termination of the defendant's supervised release or
12   probation, such disclosures to be shared with the U.S. Attorney' s Office, including the
13   Financial Litigation Program, for any purpose. Finally, the defendant shall participate in
14   the Inmate Financial Responsibility Program to fulfill all financial obligations due and
15   owing under this agreement and the law.
16          5.      The defendant understands that if the defendant violates any of the conditions
17   of the defendant's supervised release, the supervised release may be revoked. Upon such
18   revocation, notwithstanding any other provision of this agreement, the defendant may be
19   required to serve a term of imprisonment or the defendant's sentence may otherwise be
20   altered.
21          6.      The defendant and the government agree that this agreement does not in any
22   manner restrict the actions of the government in any other district or bind any other United
23   States Attorney' s Office.
24          7.      The defendant understands and agrees to cooperate fully with the United
25   States Probation Office in providing (a) all criminal history information, i.e., all criminal
26   convictions as defined under the Sentencing Guidelines; (b) all financial information, i.e.,
27   present financial assets or liabilities that relate to the ability of the defendant to pay a fine
28   or restitution; (c) all history of drug abuse which would warrant a treatment condition as


                                                   -4-
 Case 4:24-cr-00041-RCC-JR           Document 26        Filed 12/05/24     Page 5 of 10




 1   part of sentencing; and (d) all history of mental illness or conditions which would warrant
 2   a treatment condition as part of sentencing.
 3          8.     If the Court, after reviewing this plea agreement, concludes any provision is
 4   inappropriate, it may reject the plea agreement pursuant to Rule 1 l(c)(5), Fed. R. Crim. P.,
 5   giving the defendant, in accordance with Rule 1 l(d)(2)(A), Fed. R. Crim. P., an opportunity
 6   to withdraw defendant' s guilty plea.
 7                        Forfeiture, Civil, and Administrative Proceedings
 8          a.     Defendant acknowledges the foregoing assets have been administratively
 9   forfeited by the Department of Homeland Security, U.S. Customs and Border Protection:
10   seven (7) Century Arms AK-47 variant 7.62x39 rifles, four (4) Pioneer Arms AK-47
11   variant 7.62x39 rifles, one (1) Riley Defense, Inc. AK-47 variant 7.62x39 rifle, twelve (12)
12   AK-47 magazines, and one (1) 7.62x39mm caliber round ammunition.
13          b.     Defendant knowingly and voluntarily waives all constitutional, legal and
14   equitable defense to the forfeiture of the assets in any proceeding. Defendant agrees to
15   waive any jeopardy defense or claim of double jeopardy, whether constitutional or statutory
16   and agrees to waive any claim or defense under the Eighth Amendment to the United States
17   Constitution, including any claim of excessive fine, to the forfeiture of the assets by the
18   United States. The defendant also waives all statutory deadlines, including but not limited
19   to deadlines set forth in 18 U.S.C. § 983.
20          c.     Defendant knowingly and voluntarily agrees to hold the United States, its
21   agents and employees harmless from any claims whatsoever in connection with the seizure
22   or forfeiture of the above-listed assets.
23          d.     Defendant knowingly and voluntarily agrees and understands the
24   administrative forfeiture of the assets listed above shall not be treated as satisfaction of any
25   assessment, fine, restitution, cost of imprisonment, or any other penalty this Court may
26   impose upon the defendant.
27          e.     Defendant further agrees and understands that the government will dispose
28   of the assets as authorized by law, which may include destruction of the seized items. The


                                                  -5-
     Case 4:24-cr-00041-RCC-JR          Document 26        Filed 12/05/24    Page 6 of 10




 1     defendant agrees that the items may be destroyed by the investigative agency with or
 2     without a court order authorizing the destruction of the items seized. If the United States
 3     determines that a destruction order should be obtained, the defendant and defendant' s
 4     counsel hereby concur in a motion for such an order.
 5     f.     Nothing in this agreement shall be construed to protect the defendant from
 6     administrative or civil forfeiture proceedings or prohibit the United States from proceeding
 7     with and/or initiating an action for civil forfeiture.
 8                                Waiver of Defenses and Appeal Rights
 9            Provided the defendant receives a sentence consistent with this agreement that does
10     not exceed the statutory maximum or any stipulated sentence, the defendant waives (1) any
11     and all motions, defenses, probable cause determinations, and objections that the defendant
12     could assert to the indictment or information; and (2) any right to file an appeal, any
13     collateral attack, and any other writ or motion that challenges the conviction, an order of
14     restitution or forfeiture, the entry of judgment against the defendant, or any aspect of the
15     defendant's sentencing-including the manner in which the sentence is determined, and any
16     sentencing guideline determinations. The defendant further waives: (1) any right to appeal
17     the Court's entry of judgment against defendant; (2) any right to appeal the imposition of
18     sentence upon defendant under Title 18, United States Code, Section 3742 (sentence
19     appeals); (3) any right to appeal the district court's refusal to grant a requested variance;
20     (4) any right to collaterally attack defendant's conviction and sentence under Title 28,
21     United States Code, Section 2255 , or any other collateral attack; and (5) any right to file a
22     motion for modification of sentence, including under Title 18, United States Code, Section
23     3582(c) (except for the right to file a compassionate release motion under 18 U.S.C. §
24     3582(c)(l)(A) and to appeal the denial of such a motion). The defendant acknowledges
25     that this waiver shall result in the dismissal of any appeal or collateral attack the defendant
26     might file challenging the defendant's conviction or sentence in this case. If the defendant
27     files a notice of appeal or a habeas petition, notwithstanding this agreement, the defendant
28     agrees that this case shall, upon motion of the government, be remanded to the district court


                                                     -6-
     Case 4:24-cr-00041-RCC-JR         Document 26       Filed 12/05/24   Page 7 of 10




 1     to determine whether the defendant is in breach of this agreement and, if so, to permit the
 2     government to withdraw from the plea agreement. This waiver shall not be construed to
 3      bar an otherwise-preserved claim of ineffective assistance of counsel or of "prosecutorial
 4     misconduct" (as that term is defined by Section II.B of Ariz. Ethics Op. 15-01 (2015)).
 5                                      Reinstitution of Prosecution
 6            Nothing in this agreement shall be construed to protect the defendant in any way
 7     from prosecution for perjury, false declaration or false statement, or any other offense
 8     committed by the defendant after the date of this agreement. In addition, if the defendant
 9     commits any criminal offense between the date of this agreement and the date of
10     sentencing, the government will have the right to withdraw from this agreement. Any
11     information, statements, documents and evidence which the defendant provides to the
12     United States pursuant to this agreement may be used against the defendant in all such
13     proceedings.
14            If the defendant's guilty plea is rejected, withdrawn, vacated, or reversed by any
15     court in a later proceeding, the government will be free to prosecute the defendant for all
16     charges as to which it has knowledge, and any charges that were dismissed because of this
17     plea agreement will be automatically reinstated. In such event, the defendant waives any
18     objections, motions, or defenses based upon the Speedy Trial Act or the Sixth Amendment
19     to the Constitution as to the delay occasioned by the later proceedings. The defendant
20     agrees that the stipulations set forth under "Agreements Regarding Sentence" will not be
21     offered if prosecution is re-instituted.
22                                            Plea Addendum
23            This written plea agreement, and any written addenda filed as attachments to this
24     plea agreement, contain all the terms and conditions of the plea. Any additional
25     agreements, if any such agreements exist, shall be recorded in a separate document and
26     may be filed with the Court under seal. Accordingly, additional agreements, if any, may
27     not be in the public record.
28


                                                   -7-
 Case 4:24-cr-00041-RCC-JR         Document 26         Filed 12/05/24    Page 8 of 10




 1              WAIVER OF DEFENDANT'S RIGHTS AND FACTUAL BASIS
 2                                        Waiver of Rights
 3          I have read each of the provisions of the entire plea agreement with the assistance
 4   of counsel and understand its provisions. I have discussed the case and my constitutional
 5   and other rights with my attorney. I understand that by entering my plea of guilty I will be
 6   giving up my right to plead not guilty; to trial by jury; to confront, cross-examine, and
 7   compel the attendance of witnesses; to present evidence in my defense; to remain silent
 8   and refuse to be a witness against myself by asserting my privilege against self-
 9   incrimination; all with the assistance of counsel; to be presumed innocent until proven
10   guilty beyond a reasonable doubt; and to appeal.
11          I agree to enter my guilty plea as indicated above on the terms and conditions set
12   forth in this agreement.
13          I have been advised by my attorney of the nature of the charge to which I am entering
14   my guilty plea. I have been advised by my attorney of the nature and range of the possible
15   sentence, and that I will not be able to withdraw my guilty plea ifl am dissatisfied with the
16   sentence the court imposes.
17          My guilty plea is not the result of force, threats, assurances or promises other than
18   the promises contained in this agreement. I agree to the provisions of this agreement as a
19   voluntary act on my part, rather than at the direction of or because of the recommendation
20   of any other person, and I agree to be bound according to its provisions. I agree that any
21   potential sentence referred to herein or discussed with my attorney is not binding on the
22   Court and is merely an estimate.
23          I agree that this written plea agreement contains all the terms and conditions of my
24   plea and that promises made by anyone (including my attorney) that are not contained
25   within this written plea agreement are without force and effect and are null and void.
26          I am satisfied that my defense attorney has represented me in a competent manner.
27
28


                                                 -8-
 Case 4:24-cr-00041-RCC-JR          Document 26        Filed 12/05/24    Page 9 of 10




 1          I am not now on or under the influence of any drug, medication, liquor, or other
 2   intoxicant or depressant, which would impair my ability to fully understand the terms and
 3   conditions of this plea agreement.
 4                               Factual Basis and Relevant Conduct
 5          I further agree that the following facts accurately describe my conduct in connection
 6   with the offense to which I am pleading guilty and that if this matter were to proceed to
 7   trial the government could prove the elements of the offense beyond a reasonable doubt,
 8   but this is not meant to be a complete recitation of all facts relevant to the underlying
 9   criminal conduct or all facts known to either party that relate to that conduct:
10
            On or about December 4, 2023 , in the District of Arizona, I, Manuel David
11          Mora, was knowingly present in the United States pursuant to a B 1/B2 non-
            immigrant Visa and was aware of my non-immigrant legal status. On
12          December 4, 2023 , at or near Phoenix Arizona, I knowingly received and
             ossessed firearms, to wit: twelve (12) AK-47 pattern semi-automatic rifles.
13          f also possessed at the same time several 30-round magazines that these rifles
            could accept. I acknowledge these rifles had travelled m interstate commerce,
14          could accept high-capacity magazines, and several of these rifles had
            obliterated serial numbers. I possessed these rifles with the knowledge and
15          intent they would be transported outside of the United States.
16
17
            Date                                       Manuel David Mora Garcia
18                                                     Defendant
19
20                            DEFENSE ATTORNEY' S APPROVAL
21          I have discussed this case and the plea agreement with my client in detail and have
22   advised the defendant of all matters within the scope of Rule 11 , Fed. R. Crim. P., the
23   constitutional and other rights of an accused, the factual basis for and the nature of the
24   offense to which the guilty plea will be entered, possible defenses, and the consequences
25   of the guilty plea, including the defendant' s waiver of the right to appeal. No assurances,
26   promises, or representations have been given to me or to the defendant by the government
27   or by any of its representatives which are not contained in this written agreement. I concur
28   in the entry of the plea as indicated above and on the terms and conditions set forth in this


                                                 -9-
 Case 4:24-cr-00041-RCC-JR          Document 26           Filed 12/05/24   Page 10 of 10




 1   agreement as in the best interests of my client. I agree to make a bona fide effort to ensure
 2   that the guilty plea is entered in accordance with all the requirements of Rule 11, Fed. R.
 3   Crim. P.
 4
 5
 6          Da~
 7
 8                                GOVERNMENT'S APPROVAL
 9          I have reviewed this matter and the plea agreement. I agree on behalf of the United
10   States that the terms and conditions set forth are appropriate and are in the best interests of
11   justice.
                                                          GARY M. RESTAINO
12                                                        United States Attorney
                                                          District of Arizona
13
                                                     Digitally signed by KEVIN SCHIFF
14                                                   Date: 2024.03.19 13:36:33 -07'00'
15          Date                                          Kevin D. Schiff
                                                          Assistant U.S. Attorney
16
17
18
19
20
21
22
23
24

25
26
27

28


                                                 - 10 -
